
ORDER
| Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel, the response thereto filed by respondent, and the supplemental filings of the parties,
IT IS ORDERED that the petition for interim suspension be denied.
IT IS FURTHER ORDERED that respondent shall fully and completely adhere to all terms of the recovery agreement he executed with the Lawyers Assistance Program, and such other conditions as may be imposed upon him by the Lawyers Assistance Program. The Office of Disciplinary Counsel shall monitor respondent’s compliance with his recovery agreement and notify this court of any violation, which may be grounds for placing respondent on disability inactive status, or interim suspension, as appropriate.
FOR THE COURT:
/s/ Jeannette Theriot Knoll /s/ Justice, Supreme Court of Louisiana
